Case 2:16-bk-17463-ER   Doc 621-4 Filed 01/17/17 Entered 01/17/17 16:14:39   Desc
                              Exhibit D Page 1 of 4




          EXHIBIT D
Case 2:16-bk-17463-ER   Doc 621-4 Filed 01/17/17 Entered 01/17/17 16:14:39   Desc
                              Exhibit D Page 2 of 4
Case 2:16-bk-17463-ER   Doc 621-4 Filed 01/17/17 Entered 01/17/17 16:14:39   Desc
                              Exhibit D Page 3 of 4
Case 2:16-bk-17463-ER   Doc 621-4 Filed 01/17/17 Entered 01/17/17 16:14:39   Desc
                              Exhibit D Page 4 of 4
